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EXHIBIT 2
      Case 3:19-cv-00719-WC Document 1-2 Filed 09/27/19 Page 2 of 3
                     U.S. E      L EMPLOYMENT OPPORTUNI                     COMMISSION
                                      Birmingham District Office
                                                                                               Ridge Park,
                                                                               1130 22'4 Suez South, Suite 2000
                                                                                        Birmingham. Al, 35205
                                                                        Intake InfOrmution Group 800-6694000
                                                                   Intake Information Group      800-6&9-6820
                                                                        Birmingham Direct Dial;(205)212-2100
                                                                                          rAx(203)212-2105
                                                                                       Webiitc' WWW,CCOC,Q0V


EEOC Charge No. 420-2018-03239

Olivia Hendrieth                                            Charging Party



Auburn University                                           Respondent
cio Morgan Sport
Senior Staff Counsel
101 Samford Hall
Auburn University, AL 36849

                                            NOTICE

The U.S. Equal Employrnent Opportunity Commission("EEOC")erroneously issued a Dismissal
and Notice of Rights(-Notice") in the above referenced charge with the incorrect date of
mailing. The date of mailing on the Notice was June 6. 2018 but should have been June 6,2019.
This letter is notice to you that the EEOC has retracted and rescinded the preViously issued Notice
due to procedural deficiencies.

Enclosed is a revised Notice dated June 28, 2019. You must file suit within 90 days of receipt of
the Notice enclosed with this correspondence, The EEOC apologizes for any inconvenience this
error may have caused.

If you have any questions regarding this Notice, please contact Enforcement Manager Eless Brown
by e-mail at eless.browrititecoc.uor or by telephone at(205)212-2019.

                                                    On b half of the Comrnission:


 JUN 2 8 2019
Date Mailed                                         Bradley . nde
                                                    District Director

Enclosure

cc:    Auburn University'                                   Cynthia F. Wilkinson, Esquire
       cio Morgan Sport                                     Wilkinson Law Firm,P.C.
       Senior Staff Counsel                                 215 North Richard Anington Jr.Blvd
       101 Samford Hall                                     Suite 301
       Auburn University, AL 36849                          Birmingham, AL 35203
                   Case 3:19-cv-00719-WC Document 1-2 Filed 09/27/19 Page 3 of 3
 EEOC Farm 161 0116)                                  EMPLOYMENT OPPORTUNITY COMM

                                              DISMISSAL AND NOTICE OF RIGHTS
 To: Olivia Hendrieth                                                             From: Birmingham District Office
                                                                                           Ridge Park Place
                                                                                           1130 22nd Street
                                                                                           Birminghani, AL 35205


                          On behalf of persogs)aggrieved whose identity is
                          CONFIDENTIAL(29 CFR 6•1691.40
 EEOC Charge No.                             EEOC Representative                                                   Telephone No.
                                            KEVAN J. JACKSON,
 420-2018-03239                             Investigator                                                           (206)212-2128
 THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
      ri       The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

      El       Your allegations did not involve a cfisability as defined by the Americans With Disabilities Act.

      El       The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

      CD       Your charge was not timely Med with EEOC: in other words, you waited too tong after the date(s) of the alleged
               discrimination to file your charge
               The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
               information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
               the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.
               The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this chaige.

               Other(briefly state)


                                                     - NOTICE OF SUIT RIGHTS -
                                               (See the additionalinformation attached to this Ieret)
Title Vil, the Americans with Disabilities Act,the Genetic Information Nondiscrimination Act,or the Age
Discrimination in Employment Act: This wiil be the only notice of dismissal and of your right to sue that we will send you.
You may fiie a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act(EPA): EPA suits must be filed in federal or state court within 2 years(3 years for willful violations) of the
alleged EPA underpayment This means that backpay due for any violations that occurred mo than 2 vears(3 vears1
before you file suit may not be collectible.

                                                                O      half of the om—Mission

                                                                                  e;
                                                                                   :i
                                                                                                                   JUN 2 8 2019
Endosures(s)                                             BRADt.EY A. ANDERS                                             (Date Mailed)
                                                             District Director
CC:
          Morgan Sport                                                          Cynthia F. Wilkinson, Esq.
          Senior Staff Counsel                                                  WILKINSON LAW FIRM PC
          AUBURN UNIVERSITY                                                     215 North Richard Arrington Jr. Blvd, Suite 301
          101 Samford Hall                                                      Birmingham, AL 35203
          Auburn University, AL 36849
